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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

SUSAN MOJICA, et al PLAINTIFFS
vs. CASE NO. 5:14-CV-5258
SECURUS TECHNOLOGIES, INC. DEFENDANT

INTERIM CASE MANAGEMENT ORDER

A Case Management Hearing was conducted on January 22, 2015. After a review
of the parties’ Rule 26(f) Joint Report, and based on discussions with counsel during the
hearing, and pursuant to Rule 16(b) of the Federal Rules of Civil Procedure, IT |S HEREBY
ORDERED as follows:

1. Plaintiff contemplates the filing of a motion for class certification, and the
parties have agreed to an orderly schedule to brief that issue, as well as an agreement to
confine discovery for the time being to class certification.’ Accordingly, it is not ripe for the
Court to enter a final scheduling order at this time. The deadlines and procedure described
hereafter are intended to govern the class certification phase of this proceeding.

2. The parties shall make Rule 26(a)(1) initial disclosures by no later than
FEBRUARY 27, 2015.

3. Plaintiffs’ deadline for filing a Motion for Class Certification is JUNE 12, 2015.

The deadline for Defendant's response (and/or dispositive motions) is OCTOBER 9, 2015.

‘The Court and the parties discussed the fact that class and merits discovery will
inevitably and unavoidingly overlap. That said, the primary emphasis of Plaintiffs’
discovery shall be on core matters necessary to move for class certification.
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The Plaintiff is given advance permission to file a reply brief, which shall be due by no later
than OCTOBER 30, 2015.

4. Memorandum briefs in support or response to a motion must not exceed
twenty-five (25) pages in length, without leave of Court for good cause shown. Reply briefs
must not exceed ten (10) pages in length.

5. Plaintiffs shall file Rule 26(a)(2) disclosures for its class certification expert
by no later than JULY 3, 2015, and produce such expert for deposition by no later than
JULY 31, 2015.

6. Defendant shall file Rule 26(a)(2) disclosures for its class certification expert
by no later than AUGUST 21, 2015, and produce such expert for deposition by no later
than SEPTEMBER 18, 2015.

7. A class certification hearing is set for DECEMBER 2, 2015, at 1:30 p.m.

8. To the extent necessary, a Final Case Management Order will issue following
the Court’s ruling on class certification. To avoid future schedule conflicts and other
delays, the parties are advised to reserve the dates of AUGUST 15-26, 2016 on their
calendars. Whatever aspects of the case remain after the class certification hearing, if
any, will likely be tried during said aon of dates.

IT IS SO ORDERED this pe day of Febwary, 2015.

OTHY |L. BROOKS
UNITED SYA ES DISTRICT JUDGE

